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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                 Criminal Action No.
          v.
                                                 1:18-CR-98-SCJ
   M ITZI B ICKERS



               UNITED STATES’ RESPONSE TO DEFENDANT’S
                    OUT OF TIME MOTION IN LIMINE

   The United States of America, by Kurt R. Erskine, United States Attorney, and

Tiffany R. Dillingham, Jeffrey W. Davis, and Nathan P. Kitchens, Assistant
United States Attorneys for the Northern District of Georgia, files this Response
to Defendant’s Motion in Limine to Preclude the Government from Calling

Witnesses Who Will Invoke the Fifth Amendment Right Against Self-
Incrimination. (Doc. 183.) Defendant’s motion is moot and should be denied.
                           Relevant Factual Background

   On October 22, 2018, a federal grand jury sitting in the Northern District of
Georgia returned a superseding indictment against Defendant Mitzi Bickers,
charging her with conspiratorial and substantive bribery, money laundering,
wire fraud, tampering with a witness or informant, and filing false tax returns.
(Doc. 41.) On January 4, 2022, the Court entered an order specially setting Ms.
Bickers’s trial for March 9, 2022. (Doc. 174.)




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   On March 3, 2022, a pretrial conference was held during which Bickers’s
counsel notified the Court and the government that it would be filing an out-of-
time motion in limine due to a concern that arose during Bickers’s preparation
for trial. On March 4, 2022, counsel for Bickers filed the instant motion seeking to
“prohibit the government from calling any witnesses that, if compelled to testify,
will invoke the Fifth Amendment right against self-incrimination.” (Doc. 183.)
                       Argument and Citation to Authority
   In her brief, Bickers alleges that based on her “review of discovery, and other
investigative efforts, [Bickers] maintains a good faith concern that some
witnesses for the government may invoke their Fifth Amendment right against
self-incrimination during their testimony.” (Doc. 183 at 2.)

   Generally, if either party is aware that a witness “intends to claim the Fifth
Amendment privilege as to essentially all questions, the court may, in its
discretion, refuse to allow him to take the stand.” United States v. Tush, 165 F.
App’x 742, 744 (11th Cir. 2006) (quoting United States v. Lacouture, 495 F.2d 1237,
1240 (5th Cir. 1974)) (punctuation omitted). “Neither side has the right to benefit
from any inferences the jury may draw simply from the witness’ assertion of the
privilege either alone or in conjunction with questions that have been put to
him.” Id. (punctuation omitted).
   Here, no potential witnesses or potential witnesses’ attorneys have advised
the government that they intend to assert their Fifth Amendment protections if
called to testify. And Bickers has declined to identify any witness who has been
subpoenaed by the government that she believes intends to invoke the Fifth

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Amendment right against self-incrimination. Therefore, Bickers’s motion is moot
and should be denied.
   Notably, the rule against calling witnesses who intend to invoke their right
against self-incrimination applies with equal force to the defendant. To the extent
Bickers has knowledge that a potential witness intends to invoke his or her Fifth
Amendment rights, she should identify the witness to the government and the
Court to avoid any potential issues at trial.
   Finally, Bickers summarily states that the government should not “be allowed

to introduce prior statements from any witness who would invoke the Fifth
Amendment if called as this would violate Defendant’s Sixth Amendment right
to confront witnesses under Crawford v. Washington, 541 U.S. 36 (2004) and

Davis v. Alaska, 415 U.S. 308 (1974).” (Doc. 183 at 3.) Importantly, Bickers does
not cite any case law to support her assertion, Crawford only applies to
testimonial statements, and the Crawford analysis is inapplicable to a variety of

prior statements. See Giles v. California, 554 U.S. 353, 374 n.6 (2008) (coconspirator
hearsay does not violate Confrontation Clause because “it [is] not . . .
testimonial”); United States v. Jimenez, 564 F.3d 1280, 1286-88 (11th Cir. 2009)

(holding that detective’s testimony about defendant’s brother was admissible
because not offered to prove the truth of brother’s statement).




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WHEREFORE, Bickers’s motion should be denied.



                                  Respectfully submitted,

                                  K URT R. E RSKINE
                                      United States Attorney


                               /s/T IFFANY R. D ILLINGHAM
                                      Assistant United States Attorney
                                  Georgia Bar No. 638051


                               /s/J EFFREY W. D AVIS
                                      Assistant United States Attorney
                                  Georgia Bar No. 426418


                              /s/ N ATHAN P. K ITCHENS
                                     Assistant United States Attorney
                                  Georgia Bar No. 263930




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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


March 5, 2022


                                         /s/ T IFFANY R. D ILLINGHAM

                                         Assistant United States Attorney
